
PALMER, J.
L.G. appeals the trial court’s order incorporating the Department of Juvenile Justice’s community based treatment plan into his probation for lewd and lascivious conduct. We find no reversible error and affirm. However, we remand for the entry of an order clarifying where L.G. shall live. L.G. is required to follow both the psychosexual evaluation recommendations and the community based treatment plan as conditions of his probation. The psy-chosexual evaluation provided that he remain in the residence of his mother’s cousin, but the community based treatment plan provided that he live with his mother. Accordingly, clarification of the court’s ruling is required.
AFFIRMED, REMAND for clarification.
TORPY and JACOBUS, JJ., concur.
